                                                                              Bk 3023 Pg288 #3600
                                                                              04-30-2008 @ 01:30p




When Recorded Return to:

Regions Mortgage
2050 Parkway Office Circle, RCN 6
Birmingham, Alabama 35244


                                                                                  Space Above for Recorder's Use

            CORPORATION ASSIGNMENT OF MORTGAGE
FOR VALUE RECEIVED, the undersignedhereby grants. assign& and transfers to:
REGIONS BANK D/B/A REGIONS MORTGAGE

all beneficial interest under that certain Mortgage Dated: JULY 3, 2007 1.3 00      5 Pa- y e 97
Executed by:        TRACEY       L. DOIRON,     AN  UNMARRIED       WOMAN    and NEIL J. TUTTLE, AN
UNMARRIED MAN, Mortgagor, to: EVE -ST LENDING, INC. Mortgagee; and recorded in the Official
Records in the County Recorders Office of FRANKLIN County, MAINE, describing land therein as:
SLE EXHIBIT "A" ATTACHED HERETO AND MADE A PART HEREOF FOR ALL PURPOSES
                                                                                                                       -0
                                                                                                                       0
                                                                                                                       0
                                                                                                                       73
                                                                                                                       0
                                                                                                                       7:1




Together with the note therein descr          or referred to. the money due and To become due thereon with interest,
and all rights       or to accrue            said Mortgage

                                                           EYEST LENDING, INC.


                                                           Attest:

                                       Dreolerive                                                       pit ei 0 pv r
State of MAINE. County of FRANKLIN

The foregoing instrument was acknowledged before me this                              PC- L              2068.   by
                                       and                                                       vtee-f,ed6i4euLasuL b bac kr   AA ot
                  KVEST LENDING, INC. a DELAWARE corporat                      n h hallo      corporation.
pres.tdrn

                                                            Notary Public


0075
                                                                               Donna M. Cach
                  FRANKLIN COUNTY                                            Notary Public, Maine
                                                                            My Commission Expires
             1/4g4Aiset a 0444
                    Register of Deeds
                                                                               August 1, 2008
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